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Case:
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                                                                                           FIL.ED
                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF MISSOURI
    I                                                                                   DEC 12       dJI~
                                         EASTERN DIVISION
                                                                                      U. S. DISTRICT COURT
    I                                                                               EASTERN DISTRICT OF MO
  UNITED STATES OF AMERICA
    I
                                                         )                                   ST.LOUIS
                                                         )
                   v.                                    )
                                                         )
   qusTIN BOONE,                                         ) No: Sl-4:18-cr-00975-CDP (JMB)
   GHRISTOPHER MYERS, and                                )
   s!TEVEN KORTE,                                        ) Title 18 United States Code Sections:
                                                         ) 242, 1519, 1001 and 2
                  Defendants.                            )
                                                         )

                                      SUPERSEDING INDICTMENT

  THE GRAND JURY CHARGES THAT:

                                              INTRODUCTION

              At times relevant to this indictment:

        (1)      The St. Louis Metropolitan Police Department ("SLMPD") was a law enforcement

  agency located in St. Louis, Missouri. SLMPD officers were sworn to uphold the United States

  clnstitution as well as the laws of the State of Missouri.

        (2)      On September 15, 2017, SLMPD Officer Jason Stockley was acquitted of a first-

  degree murder charge brought by the State of Missouri relating to the shooting death of a black,

  mLe civilian while Stockley was on duty.

        (3)      In the days and weeks that followed the Stockley verdict, there were protests

  ("Stockley protests") throughout the City of St. Louis.

        (4)      In anticipation of protests, SLMPD activated its protest-response unit, the Civil

  Disobedience Team ("CDT"), detailing more than 200 SLMPD officers to CDT.

        (5)       SLMPD officers assigned to CDT were designated to work as either part of "the line"

  or part of an arrest team. Officers' assignments changed, however, on an as-needed basis. The

  p\lfPOSe of "the line" was to create formations to control the crowd when necessary, with the
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  as'signed officers alternatively carrying shields and riot batons, known as "sticks." The

  re~ponsibility of the arrest teams was to arrest individuals identified by SLMPD supervisors for
         I
  whom there was probable cause to believe that they had committed crimes.

                (6)       Defendants Dustin Boone, Christopher Myers and Steven Korte, as well as Randy

  Hays
   I
       and Bailey Colletta
                  .
                           were SLMPD officers who were assigned to CDT during the Stockley
         I
  protests.

                (7)       L.H. had been an SLMPD officer for 22 years and was a detective at the time of the

  Stockley protests.

         I      (8)       L.H. was assigned to work in. an undercover capacity during the Stockley protests to
         '
  rebord and document'criminal activity so that other SLMPD officers could lawfully arrest

  m 1v1"dua1s who were comm1ttmg
  .     tll .              . . cnmes.
                                 .

                (9)       As the Stockley acquittal was announced and in the days thereafter, defendants

  Dustin Boone and Christopher Myers, expressed disdain for the Stockley protestors and

 ' e1citement about using unjustified force against them and going undetected while doing so, e.g. :
                 ·;·;·;                                                 ...   ··-.                                                 .· ;
         l

      -·. !·          "                                                                  ..                                                               "c'
                                                                                                                                                                '     v



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         r                         '   ,,'~                                     ..                    •.          ..                                l'.
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      "'i,. •                                                                                    '·
  ;

      >:J"      .. ·,~~oJit-                  ....··..·':f9   ·; ,.,.
                                                                  ..     .·.D?t~,    •·
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                                                                                                           '-'l

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                                                                                                                               ;

                                                                                                                              -·     BQ~V   .   '                   -...;




                                                                                              **:Hey we are both on the same arrest
                                                                                              team. Are we meeting at 20th and Olive?
       *i*/                        Christopher
       CChristopher                Myers/                                                     Myers: I know right. Yes I guess so, let's
       *yers                           **                                9/15/17              whoop some ass

                                                                                              The more the merrier!!! It's gonna get
                                                                                              IGNORANT tonight!! But it's gonna be a
                                                                                              lot of fun beating the hell out of these
        I                                                                                     shitheads once the sun goes down and
       Ij)ustin Boone                  **                                9/15/17              nobody can tell us apart!!!!




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                                              I'm on [Sgt **'s] arrest team! me and a BIG
    !
    I                                         OL black dude r the guys that are hands on!
    I
                                              No stick or shield..... just fuck people up
   I)>ustin Boone   **              9/15/17   when they don't act right! ...

                                              That's my dude today! Haha he's basically
                                              a thug that's on our side!!! It's he and I that
   I)>ustin Boone   **              9/15/17   just grab fuckers and toss em around
    I
    I
    I
                                              We really need these fuckers to start acting
   I)>ustin Boone   **              9/15/17   up so we can have some fun

                                              This shit is crazy....... but it's fucking
                                              AWESOME too! Except for cops getting
    I
    !
                                              hurt. People on the streets got FUCKED
    I                                         UP! Lol
    I
   I)>ustin Boone   **              9/16/17   ...

                I                             R u guys in [South Patrol Division]
                                              prepping anything for the war tonight? Any
                                              mistake strikes that [Sgt. **]is gonna
   I)>ustin Boone   **              9/16/17   order?

                                              Just deployed to U city..... u will see the
                                              REAL POLICE come in and clear these
                                              fuckers REAL QUICK. We ain't fuckin w
   I)>ustin Boone   **              9/16/17   them tonight.
    I
    i
    !
                                              **:You doing ok down there with the
                                              idiots?

                                              Boone: Yeah. A lot of cops gettin hurt, but
                                              it's still a blast beating people that deserve
   *1*/             Dustin Boone/             it. And I'm not one of the people hurt, so
   I)>ustin Boone   **              9/17117   I'm still enjoying each night ....

                                              We reloading these fools up on prisoner
                                              busses. As they got on we all said in unison
   I)>ustin Boone   **              9/18/17   "OUR STREETS" haha




                                          3
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                                              **:Did Mysers dumb ass even reach out to
                                              LH and apologize?

    I                                         Boone: Nope, he is being typical Myers. I'll
                                              tell u his whole attitude, but basically he
                                              told me if he was running around down
                            .·                there w the protestors and his own personal
                                              camera and didnt tell us he was a cop, then
                                              he gets what happens to a protestor. kinda
                                              said it's on him or the department but OF
   *1*/             Dustin Boone/             COURSE nothing wrong w what he did or
   J:?ustin Boone   **              9/19/17   we did.

                                              ... The problem is when they start acting
                                              like fools, we start beating the shit out of
                                              everyone on the street after we give two
    I
   J:?ustin Boone   **              9/20/17   warmngs ...
                                              They pulled that Myers kid aside and told
                                              him he can.'.t b on the line tonight. Put him
                                              in a Tahoe driving someone around. From
                                              what I've heard people are NOT happy w
                                              him because he has basically said there is
                                              nothing to apologize for and made some
                                              racially charged comment about how LH
                                              got around his people and acted a fool or
                                              something then accused him of possibly
                                              being drunk? Fuckin idiot. I have told u
   J:?ustin Boone   **              9/22/17   about him.

                                              Did everyone see the protestors getting
                                              FUCKED UP in the galleria???? That was
   Ij>ustin Boone   **              9/23/17   awesome!




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   '                                                   Boone: Any reply from LH?
   I
   I                                                   **:No. Didn't really expect one though. Did
                                                       you check with[****] to make sure I had
                                                       the right number

                                         -             Boone: I have not, except people saying
                                                       they r hearing Myers busted all of his shit
                                                       and kicked him in the head. [Sgt.**] asked
                                                       him what happened in front of[****] and
                                                       myself and he changed his story about 5
                                                       times, denied everything, then said he
       !                                               smashed the phone, then says he threw the
       I                                               camera battery..... said he doesn't remember
  Dhstin
    I
         Boone/            **/                         if he kicked him in the head or not! He's a
  **I                      Dustin Boone      9/24/17   joke.

                                                       **: U all good. Im hearing some bad rumors

                                                       Myers: I hope so, I guess for now. Not sure

                                                       **: Is [****] caught up also.
           '
                                                       Myers: No he wasn't with me

                                                       **: I know Lh do you want me to talk to
                                                       him.?

                                                       Myers: Yea ifu can I have been wanting to
                           Christopher                 apologize to him personally cuss I feel bad.
  **Y                      Myers/                      We obviously didn't know he was a
           I
  Myers                    **                9/25/17   policeman. Can I call you?
                                                       Hays, a guy involved in the LH incident, got
                                                       a call tonight from the association saying to
                                                       call [****]tomorrow so they can get out in
                                                       front of this ...... why would they not call me
                                                       and give me a heads up too??? My actions
                                                       were not the same as Hays and Myers but
                                                       still. Nobody knows if they called Myers
           I
                                                       cuz [****]told him to leave tonight, I'll tell
  DJstin Boone             **                9/26/17   u more about that later!
           I
               I
           (10)    Defendants Dustin Boone, Christopher Myers and Steven Korte and other CDT
               I
 offiqers, encountered L.H .. amid the protests and believed L.H. to be a Stockley protestor.
               I




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   I,       (11)     Paragraphs 1 through, 10 are hereby incorporated by reference into each and every

 cobnt set forth below.

                                                      COUNT ONE
                                                    [18 u.s.c. § 242]

                  On or about   ~eptember   17, 2017, within the Eastern District of Missouri, defendants,

                                                DUSTIN BOONE,
                                            CHRISTOPHER MYERS and
                                                STEVEN KORTE,

while aiding and abetting each other, and others, while acting under color oflaw, willfully
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deJrived L.H. of the right to be free from unreasonable seizure, a right secured and protected by

the Constitution and laws of the United States, which includes the right to be free from

umbasonable force. In so doing, the             defend~ts threw L.H. to the ground and then kicked and
strubk L.H. while he was compliant and not posing a physical threat to anyone. This offense

reJlted in bodily iajury to L.H. arid included the use of a dangerous weapon, that is: shod feet

and a riot baton.

                  In violation of Title 18, United States Code, Sections 242 and 2.


                                                     COUNT TWO
                                                   [18 u.s.c. § 1519]
                  On or about September 17, 2017, within the Eastern District of Missouri, defendant,

                                               CHRISTOPHER MYERS,

did .Knowingly alter, destroy and mutilate L.H' s cellular phone and camera, each a tangible

 obj et used to record and preserve information, with the intent to impede, obstruct and influence

the iivestigation into the arrest and assault of L.H., such investigation being a matter within the
             II
juriscliction
      I
              of the Federal Bureau oflnvestigation, an agency of the United States.

                  In violation of Title 18, United States Code, Section 1519.



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                                           COUNT THREE
                                           [18 u.s.c § 1001]
         Between July 25, 2018, and August 8, 2018, all dates being inclusive, within the Eastern

  District of Missofui, defendant,
                                           STEVEN KORTE,

  did willfully and knowingly make materially false, fictitious, and fraudulent statements to
    I
  a Special Agent of the Federal Bureau oflnvestigation (FBI) concerning facts material to

  a latter being investigated by the FBI, an agency within the executive branch of the

  u1ted States. Specifically, defendant Steven Korte falsely claimed (1) that he had not

  brn involved in the arrest of L.H. on September 17, 2017, when he then and there knew

  that he had, in fact, participated in the arrest of L.H. on September 17, 2017, (2) that he

  hjd not yelled at L.H. "Hands out!,'' while participating in the arrest of L.H. on

  Sjptember 17, 2017, when he well knew that he did in fact give such orders to L.H., and
    I
  (3) that his voice was not captured on a recording ofL.H.'s arrest giving the

  aflrementioned commands, even though he well knew his voice was on the recording,

  haling listened to the recording, and denying the same, in the presence of an FBI agent.
    I
    I                  '
    I    In violation of Title 18, United States Code, Section 100l(a)(2).

                                                        A TRUE BILL



                                                        FOREPERSON

  JEFFREY B. JENSEN
  Uhlted States Attorney
  Br:
    II
    I
  C~E COSTANTIN, #35925MO                           JENNIFER A. WINFIELD, #53350MO
  Fttst Assistant United States Attorney            Assistant United States Attorney
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